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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                      )
                                               )           8:03CR486
                   Plaintiff,                  )
                                               )
      vs.                                      )            ORDER
                                               )
KIRK RUBY,                                     )
                                               )
                   Defendant.                  )




      This matter is before the court on the motion of Jessica L. Milburn to withdraw as
counsel for the defendant, Kirk Ruby [126]. Since Karen M. Shanahan, Assistant Federal
Public Defender, has entered an appearance for the defendant [125], the motion to
withdraw [126] is granted. Jessica L. Milburn shall be deemed withdrawn as attorney of
record.
      IT IS SO ORDERED.
      DATED this 18th day of April, 2006.


                                               BY THE COURT:


                                               s/ Thomas D. Thalken
                                               United States Magistrate Judge
